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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


BRANDON DEUTSCH, individually and on            Case No. 20-CV-00318 (SRN-ECW)
behalf of all similarly situated individuals,
                                                Judge Susan Richard Nelson
             Plaintiff,
                                                    PLAINTIFFS’ REPLY TO
v.                                               DEFENDANT’S OPPOSITION TO
                                                   PLAINTIFFS’ MOTION FOR
                                                  CLASS CERTIFICATION AND
MY PILLOW, INC.,                                   APPOINTMENT OF CLASS
                                                 REPRESENTATIVES AND CLASS
             Defendant.                                   COUNSEL


                                  INTRODUCTION

      The Court should grant Plaintiffs’ Motion for Class Certification because Plaintiffs’

claims under the MPWA present common questions of fact and law that should be resolved

as part of a Rule 23 class action. Plaintiffs and the proposed Rule 23 Class seek unpaid

straight time wages at their agreed upon rates of pay under the MPWA and civil penalties

on behalf of the Minnesota Commissioner of Labor and Industry.

                             FACTUAL BACKGROUND

      Plaintiffs rely on their statements of the factual record as outlined in their Motion

for Summary Judgment (ECF 123), Opposition to Defendant’s Motion for Summary
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Judgment (ECF 151), and Motion for Class Certification (ECF 130). 1 Plaintiffs respond to

a few of Defendant’s statements below. 2

                Defendant’s Statement                      Plaintiffs’ Response

    1.   Deutsch’s disciplinary history at My     “I was not sleeping…I was putting my
         Pillow also includes a suspension in     leg up because I have 23 screws and
         September 2018 for sleeping at his       three plates in my ankle…I never
         desk.                                    missed a call…they reviewed my call
                                                  log, and I didn’t miss any calls at all.”
                                                  (Deutsch Dep. 57:17–58:4).



    2.   Deutsch has been convicted of a Mr. Deutsch has been convicted of two
         number of felonies for domestic assault felonies, both arising from the same
         and driving while impaired.             domestic assault, and both are unrelated
                                                 to his work with Defendant. The
                                                 convictions are nearing 10 years old
                                                 making them ripe for exclusion
                                                 pursuant to Fed. R. Evid. 609 and 403.
                                                 Deutsch has never been convicted of a
                                                 felony for driving while impaired.

    3.   The insurance cards appear altered; one This is pure speculation by Defendant,
         includes Deutsch’s birthday, and one not relevant evidence under Rule 401,
         included Lyons’ birthday.               and prejudicial to Plaintiffs under Rule
                                                 403. The Court must disregard this
                                                 statement. Mr. Deutsch denied
                                                 modifying insurance cards. (Deutsch
                                                 Dep. 51:23–52:2).




1
  All deposition transcripts and exhibits are appended to the Declaration of Zackary S.
Kaylor (ECF 124) unless otherwise noted.
2
  As part of its Opposition, Defendant attaches Facebook posts made by Craig Lyons. (ECF
156). This information was responsive to discovery requests made by Plaintiffs and was
not timely produced in response to those requests or by the discovery deadline. Plaintiffs
reserve their rights to seek exclusion of this evidence at trial.
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 4.    Lyons also told Jenkins that he brought Lyons brought this lawsuit because he
       this lawsuit because he believed his found out that he was owed money that
       termination was discriminatory.         he worked for. (Lyons Dep. 130:3–8).
                                               He did not bring the lawsuit because he
                                               was upset that Defendant terminated
                                               him and does not seek to punish
                                               Defendant for terminating him. (Id. at
                                               130:12–14).


                                       ARGUMENT

I.     THE COURT MAY AMEND THE CLASS DEFINITION IN ITS
       DISCRETION.

       Plaintiffs provide an overwhelming amount of authority from this District, the

Eighth Circuit, and other federal courts around the country that a district court has broad

discretion to modify class definitions at the class certification stage. (ECF 130 at 9–10).

Defendant cites to Judge Schiltz’s opinion in Caribou Coffee where he declined to expand

the class definition at the class certification stage. Nerland v. Caribou Coffee Co., Inc., 564

F. Supp. 2d 1010, 1033 n.12 (D. Minn. 2007). He could do so at his discretion, as is widely

held. To the extent that the decision in Caribou Coffee suggests that plaintiffs are bound

by the class definition in the complaint—even after the benefit of discovery—the opinion

is against the weight of authority. See In re Namenda Direct Purchaser Antitrust Litig.,

331 F. Supp. 3d 152, 210–11 (S.D.N.Y. 2018) (granting expansion of class definition at

class certification stage to include new group of class members where defendants had

reason to anticipate their inclusion during discovery).

       Plaintiffs do not seek to add new class claims or new theories of liability—the one

and only Rule 23 claim alleging violations of the MPWA remains and existed at the time


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of the original Complaint. Defendant claims that it would be prejudiced by the amendment

because it adds other CCRs to the case and because it returns the look back period to what

was in the original Complaint. Defendant cannot claim prejudice about the three-year look

back to January 2017 because that is the same look back as the FLSA claims and was the

Rule 23 look back pleaded in the original Complaint. Defendant was therefore put on notice

regarding the proposed time period.

       Defendant also cannot claim prejudice about adding CSRs who did not work a week

of overtime to the case. The first paragraph of the Amended Complaint states: “This is a

class and collective action brought by Plaintiff on his own behalf and on behalf of all

similarly situated current and/or former employees of Defendant to recover for Defendant’s

willful violation of the . . . Minnesota Payment of Wages Act . . . .” (ECF 31 ¶ 1). This case

has always been about all similarly situated employees. Next, the Rule 23 Class as pleaded

in the Amended Complaint seeks unpaid straight-time under the MPWA—meaning that

unpaid straight-time has always been at issue in the case. “Plaintiff’s legal theories are

based on the same legal theories as all other Minnesota Class members: whether all Class

members were employed by Defendant on an hourly basis without receiving compensation

for ‘off-the-clock’ wages owed for that work.” (Id. ¶ 54). Defendant has always had notice

that this case was about all CCRs who did not get paid for boot-up and call ready work.

       Second, Plaintiffs met-and-conferred with Defendant regarding amendment of the

class definition to include all CSRs during the discovery period. (ECF 99 at 5–6).

Defendant had sufficient time to serve any discovery related to class issues but chose not

to. (Id.). Importantly, Defendant chose not to conduct any discovery whatsoever regarding

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the class pleaded in the Amended Complaint, let alone Plaintiffs’ proposed definition. (Id.).

Defendant stated at the hearing before Judge Wright that even if she granted Plaintiffs’

motion to amend the class definition to include all CCRs, Defendant “would not serve

additional discovery” because it could “obtain all the information we need through the

depositions we have noticed.” (Ex. 1, 38:3–17). Defendant’s admissions and litigation

strategy belies any concerns regarding prejudice.

         Moreover, Plaintiffs requested timesheets and paystubs for class members as part of

their class discovery efforts and Defendant objected to production absent a class

certification order. Adding all CSRs therefore puts the parties in the same boat. Regardless,

this information goes to damages and not liability. The work CCRs performed did not

change based on whether they worked overtime or not—unpaid boot-up and call ready

work occurred every shift by every CCR. The facts and the law support Plaintiffs’ proposed

class definition and Defendant cannot show that it is prejudiced by the definition.

II.      PLAINTIFFS MEET THE REQUIREMENTS OF RULE 23.

      A. Numerosity Exists.

         The opt-in rate of the FLSA collective action does not provide insights as to the

willingness of CCRs to participate in the Rule 23 class. “It is well-established that there

are strong disincentives for employees to participate in a class action against their current

or former employer, particularly when the suit requires an affirmative opt-in, as does the

FLSA.” Rutti v. Lojack Corp., Inc., No. SACV 06–350, 2012 WL 3151077, at *5 (C.D.

Cal. July 31, 2012). The court in Rutti cited to a law review article that surveyed FLSA



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opt-in rates to find an average opt-in rate of 15.71%. Id. The article compared this to

another study documenting a 1% opt-out rate for class actions. 3

       The FLSA action and state law remedies are entirely separate rights that may be

pursued by the plaintiffs. McLaughlin v. Liberty Mut. Ins. Co., 224 F.R.D. 304, 308 (D.

Mass. 2004). “Thus, an employee’s failure to opt in to the FLSA litigation should not

deprive them of their right to pursue a state law remedy through a single class action.” Id.;

see O’Brien v. Encotech Const. Services, Inc., 203 F.R.D. 346, 352 (N.D. Ill. 2001) (stating

“a FLSA action seeks to address violations of federally-conferred rights, while the putative

class action under counts 1 and 2 seeks to address violations of state-conferred rights.”);

Nerland, 564 F. Supp. 2d at 1031 (disagreeing with employer’s assumption that all of the

stores managers who desired to join the lawsuit did so by opting into the FLSA action).

Numerosity is easily satisfied, and Defendant cannot rely on the FLSA opt-in rate to

demonstrate CCRs’ interests in effectuating their separate state-conferred rights under Rule

23.

       B.     The Commonality Requirement of Rule 23(a) and the Predominance
              Requirement of Rule 23(b) are Met.

       Defendant fails to rebut that there are common questions of fact and law that

predominate over individualized issues. This case is no different than the one this District

considered in Burch v. Qwest Communications Intern., Inc., 677 F. Supp. 2d 1101 (D.

Minn. 2009). CCRs must perform compensable activities under the MPWA before they


3
  Andrew C. Brunsden, Hybrid Class Actions, Dual Certification, and Wage Law
Enforcement in the Federal Courts, 29 Berkeley J. Emp. & Lab. L. 269, 291–94 (2008)
(analyzing low opt-in rates in FLSA collective actions).
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start getting paid. Those activities are the same. CCRs must turn on or wake up their

computer, log in to the computer, open a web browser, open the ADP website, login to

ADP, and clock in. Defendant’s concerns either do not require individualized analysis or

go to the question of damages—which does not preclude a finding of commonality and

predominance.

       First, Defendant asserts that its time-adjustment policy will create individualized

issues that predominate. Plaintiffs addressed Defendant’s time-adjustment policy in their

Reply to Defendant’s Opposition to Plaintiffs’ Motion for Partial Summary Judgment and

Plaintiffs incorporate those arguments here. Defendant’s time adjustment policy is not

intended as a mechanism for recording the ordinary boot-up and call ready work that occurs

every shift by every CCR. There are no emails or other documentation attesting to that fact,

nor is there any written policy requiring CCRs to request time adjustments when they have

completed boot-up work before they can access ADP. The time punch change requests

were for instances where an employee forgot to clock in or out. (ECF 142, Exs. 10–15).

Defendant expressly admitted that it did not keep track of the time CCRs spent performing

boot-up and call ready work. (Ex. 3 at No. 11; Ex. 4 at No. 11). CCRs testified that they

were not instructed to request time punch changes when they completed boot-up work.

(See Mendez Zepeta Dep. 77:8–12; Arth Dep. 37:11–14; Jenkins Dep. 48:25–49:3;

Deutsch Dep. 92:7–11; Lyons Dep. 139:7–11).

       To the extent that any time adjustment may have resulted in boot-up work being

compensated as Defendant alleges, it is clear from the record that such occasions were

infrequent and irregular. See Moore v. Ulta Salon, Cosmetics & Fragrance, Inc., 311

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F.R.D. 590, 617 (C.D. Cal. 2015) (finding predominance where some managers adjusted

employees’ time punches to account for off-the-clock work); Utne v. Home Depot U.S.A.,

Inc., No. 16-cv-01854-RS, 2022 WL 1443338, *8 (N.D. Cal. May 6, 2022) (finding that

whether employees submitted time adjustment forms to be paid for the work at issue did

not warrant decertification because the number of employees who did so “appears to be

minimal” and such questions could be addressed as part of damages). “That some small

fraction of . . . employees who waited for inspections off the clock may have had their time

adjusted by managers does not mean that answering the question here—did employees wait

for or undergo these inspections without compensation—requires any individualized

analysis.” Moore, 311 F.R.D. at 617. “The evidence indicates that very few employees, if

any, were compensated for all time waiting for and undergoing every single exit

inspection.” Id. Here, there is no individualized analysis, let alone one that predominates

common questions, because it is clear that CCRs did not use the time-adjustment process

to get paid for the daily work at issue and there is no evidence in the record that Defendant

specifically instructed CCRs to record boot-up work in this manner.

       Third, Defendant claims that an individualized analysis is needed as to whether

CCRs followed Defendant’s “policy” about leaving the computers on. This question does

not require an individualized analysis because the class members all testified that this

policy did not exist. (Deutsch Dep. 71:2–16; Lyons Dep. 16:18–21; Jenkins Dep. 7:15–

8:21; Arth Dep. 17:20–18:13; Mendez Zepeta Dep. 6:24–7:14). Defendant admitted it does

not have a written policy that computers should be kept turned on. (Miles Dep. 116:24–

117:6). There is no individualized analysis needed because class members already provided

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a common answer: the policy does not exist. Additionally, the difference between turning

on the computer versus waking the computer up is a damages question that is suitable for

class treatment. See also Bouaphakeo v. Tyson Foods, Inc., 564 F. Supp. 2d 870, 909 (N.D.

Iowa 2008) (finding common questions predominated where employees did not don and

doff the same PPE or use the same equipment).

       The amount of time it took to perform unpaid boot-up and call ready work is a

common question that does not defeat class treatment. Damages determinations are

individual in nearly all wage-and-hour class actions. Leyva v. Medline Industries Inc., 716

F.3d 510, 513 (9th Cir. 2013). Thus, the amount of damages is invariably an individual

question and does not defeat class action treatment. Id. at 514 (quotation omitted); see Wal-

Mart Stores, Inc. v. Dukes, 564 U.S. 338, 362 (2011) (stating “individualized monetary

claims belong in Rule 23(b)(3).”); Butler v. Sears, Roebuck and Co., 727 F.3d 796, 801

(7th Cir. 2013) (stating common proof for class members is not required and “the fact that

damages are not identical across all class members should not preclude class

certification”); In re Target Corp. Customer Data Sec. Breach Litig., 309 F.R.D. 482, 489

(D. Minn. 2015) (finding predominance where “Plaintiffs’ damages may ultimately require

some individualized proof”). Individualized inquiries regarding the amount of time it takes

to complete boot-up and call ready work speaks to damages and does not preclude class

certification.

       Plaintiffs dispute that the alleged “modifications” to Lyons’ computer had any

impact on the amount of time it took him to become call ready. Moreover, there is simply

no evidence in the record that any supposed “modifications” on Lyons’ computer affected

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the boot-up time. This is bolstered by the fact that other class members provided testimony

regarding the boot-up process that was within the range of the two videos recorded by

Lyons. In other words, “modification” aside, the boot-up time still took other Plaintiffs a

similar amount of time to complete the boot-up and call ready work. (See Deutsch Dep.

21:16–22; Jenkins Dep. 47:14–24; Arth Dep. 13:22–14:9; Mendez Zepeta Dep. 12:16–20;

Dols Dep. 37:13–20). Thus, Defendant cannot demonstrate that such “modifications”

provide an individualized issue that predominates over common questions when it can only

point to a single testifying class member (16% of the testifying class) who performed the

alleged “modifications.” Moreover, the “modifications” have nothing to do with liability

but present a damages question, meaning, did it affect the amount of time it took Lyons to

prepare his computer? This is not a question that precludes class certification. See Cruz v.

TMI Hospitality, Inc., No. 14–cv–1128 (SRN/FLN), 2015 WL 6671334, at *9 (D. Minn.

Oct. 30, 2015) (“While it is true that there may be individual questions regarding the

amount of time that a particular individual was required to work off the clock or how often

the individual was not paid in a timely manner under § 181.101, those individual issues

relate to damages.”). Defendant fails to identity individualized issues that predominate over

common questions.

       C.     The Claims of the Proposed Class Representatives are Typical of the Class.

       Typicality is satisfied when the claims of the named plaintiffs emanate from the

same event or are based on the same legal theory as the claims of the class members. In re

Potash Antitrust Litig., 159 F.R.D. 682, 690 (D. Minn. 1995). Thus, a strong similarity of

legal theories will satisfy the typicality requirement despite substantial factual differences.

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Id. The focus of the typicality requirement is whether pursuing a class action implicates

conflicting interests within the class. Id. at 691.

       Lyons is not subject to a unique defense. Defendant’s contention is whether the

alleged “modifications” impacted the amount of time it took Lyons to prepare his

computer. This is a damages defense where individualized inquires are permissible. Alpern

v. UtiliCorp United, Inc., 84 F.3d 1525, 1540 (8th Cir. 1996) (finding typicality satisfied

where class representative brought same claim under federal statute as class members even

though “damage calculations might differ”). The Nagel decision Defendant cites is

inapplicable here. There, a union member brought a claim for breach of the duty of fair

representation against his union and sought to represent a class that included members

working under different contracts that were negotiated with different employers. Nagel v.

United Food & Com. Workers Union, No. 18-cv-1053 (WMW/ECW), 2021 WL 347414,

at *4 (D. Minn. Feb. 2, 2021). The court found typicality not satisfied because the claims

would not emanate from the same event. Id. at *5 (discussing required analysis of different

CBA negotiations between bargaining units and employers plaintiff was not privy to).

Here, Lyons’ claim is typical of the class because it is based on the same conduct, non-

compensation for boot-up work, and the same remedial theory, breach of the MPWA.

       Defendant’s arguments regarding Deutsch are similarly unpersuasive. Defendant’s

arguments again go to the question of damages and do not present a defense as to liability.

Whether Deutsch experienced more computer updates or left his computer on or off only

impacts the amount of time he should be compensated. He seeks the same claims and relief

as the Class, compensation for unpaid boot-up work under the MPWA. See Vega v. All My

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Sons Business Development LLC, 583 F. Supp. 3d 1244, 1264 (D. Ariz. 2022) (finding

typicality satisfied where unpaid wage claims arose from compensation practices that

applied to plaintiff as they applied to others even if the claims were not identical in terms

of daily tasks performed or total hours worked); Roldan v. Bland Landscaping Co., Inc.,

341 F.R.D. 23, 33 (W.D.N.C. 2022) (stating “representative’s claims must only have the

same essential characteristics as the claims of the class at large.”).

       The issues raised by Defendant do not defeat the requirement that Lyons’ and

Deutsch’s claims be typical of the class. Both class representatives seek recovery for the

same injury and for the same work as the Class. That is all Rule 23(a)(3) requires.

       D.     The Proposed Class Representatives Meet the Adequacy Requirements.

       The adequacy requirements are not rigorous. A class representative need not have

personal knowledge of the facts needed to make out a prima facie case. Thompson v. Allianz

Life Ins. Co. of North America, 330 F.R.D. 219, 225 (D. Minn. 2019). The depth of a named

representative’s knowledge is irrelevant. Id. The only thing class representatives need to

show to demonstrate their adequacy is that they have common interests and will vigorously

prosecute the case. West Virginia Pipe Trades Health & Welfare Fund v. Medtronic, Inc.,

325 F.R.D. 280, 287 (D. Minn. 2018) (finding adequacy where “Plaintiffs are institutional

shareholders that share the class's common interest in obtaining damages for Medtronic's

alleged violations of securities laws” and “have testified to their willingness to vigorously

prosecute the interests of the class.”).

       Defendant’s adequacy concerns do not show an intra-class conflict between Lyons,

Deutsch, and the Class. Perfect symmetry of interest is not required and not every

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discrepancy among the interests of class members renders a putative class action untenable.

Vogt v. State Farm Life Ins. Co., 963 F.3d 753, 767 (8th Cir. 2020). To forestall class

certification the intra-class conflict must be so substantial as to overbalance the common

interests of the class members as a whole. Id. (citing Matamoros v. Starbucks Corp., 699

F.3d 129, 138 (1st Cir. 2012)). “Only conflicts that are fundamental to the suit and that go

to the heart of the litigation prevent a plaintiff from meeting the Rule 23(a)(4) adequacy

requirement.” Matamoros, 699 F.3d at 138 (citing 1 William B. Rubenstein, Newberg on

Class Actions § 3:58 (5th ed. 2012)). An intra-class conflict may exist where a class

representative seeks a result that the class does not want. See Nagel, 2021 WL 347414, at

*5 (finding that union members bargained away benefit plaintiff sought because union

members believed it would strengthen the overall health of the union).

       Here, Defendant claims that Lyons has a “personal animus” that puts him at odds

with the Class. Defendant cites no cases where a “personal animus” disqualifies a class

representative. Lyons brought this lawsuit because he found out that he was owed money

that he worked for. (Lyons Dep. 130:3–8). He did not bring the lawsuit because he was

upset that Defendant terminated him and does not seek to punish Defendant for terminating

him. (Id. at 130:12–14). Lyons also has substantial knowledge regarding the claims in the

class action, the class of employees he seeks to represent, and the logistics of this class

action. (Id. at 121:18–127:1). When asked about his obligations to the Class, Lyons stated,

“That I’m showing up for depositions. I’m in contact with the lawyers. I’m making sure

that everything is going well for the people I’m representing.” (Id. at 125:4–9).

Furthermore, Lyons seeks compensation for the Class’ unpaid boot-up time, which is what

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this case is all about. (Id. at 122:25–123:21). Defendant does not explain how Lyons’

alleged “personal animus” goes to the heart of the litigation or will produce a result that

conflicts with the desires of the Class. This is not the intra-class contemplated by Rule

23(a)(4) and Lyons adequately represents the Class.

       Defendant’s arguments regarding Deutsch’s adequacy similarly fail. Deutsch, the

Named-Plaintiff in this action, started the case and has participated in its decision-making

from day one. (ECF 133 ¶ 7). Mr. Deutsch was deposed and made himself available for an

in-person, full-day deposition at Defendant’s request. Quite frankly, a class representative

cannot do much more to vigorously litigate an action. See Shabazz v. Morgan Funding

Corp., 269 F.R.D. 245, 250 (S.D.N.Y. 2010) (finding class representatives adequate where

they did not sit for depositions). Both Lyons and Deutsch meet Rule 23(a)(4)’s adequacy

requirements and the Court should appoint them as class representatives.

       E.     A Class Action is a Superior Method of Resolving the Claims of CCRs.

       As common questions of fact and law predominate, the Court should find the class

action the superior method of resolving the claims of the Class. This District has previously

held that class actions are the superior method of litigating MPWA claims. Burch, 677 F.

Supp. 2d at 1129; Cruz, 2015 WL 6671334, at *13. Importantly, a class action is a superior

method of litigating the MPWA claims because at least 77 class members are unaware that

this litigation is occurring because they did not receive FLSA notice. (ECF 95 at 13).

       Defendant cites to Minnesota’s “last paycheck” laws as a superior method of

litigating the claims at issue. This is disingenuous. Defendant’s argument presupposes that

it considers the work at issue compensable and that all a Class member needed to do is

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demand payment for unpaid wages under one of the statutes. Defendant’s vigorous defense

of this action speaks otherwise. A Class member seeking payment under one of these

statutes would have been told by Defendant that such time was not compensable. A Class

member would then be left to find an attorney to prosecute the action in Court. Such a

result is exactly why Rule 23 exists. Plaintiffs have demonstrated superiority and the Court

should certify the class requested.

       F.      Damages Can Be Calculated Class-wide.

       Defendant did not keep track of the time CCRs spent performing boot-up work and

making themselves call-ready. “Where an employer has failed to keep records, the

consequences for such failure should fall on the employer, not the employee.” Moore, 311

F.R.D. at 621. As such, Plaintiffs and the Class must rely on testimony from class members

and videos recorded by Plaintiff Craig Lyons to establish damages. “If calculation of

individualized damages is complex, the court has numerous efficient means to resolve such

issues, including questionnaires, surveys, representative testimony, the use of a special

master and other aggregate analysis.” Id. at 622. Also, when a plaintiff seeks putative class

members’ timekeeping records and the employer fails to provide them in discovery, failure

to have analyzed these records and present a damages calculation is not fatal at class

certification. Id.

       Plaintiffs’ damages model is simple: the jury can hear the testimony of class

members and evidence like the Lyons’ videos and then decide on a number of minutes that

represent the amount of unpaid time CCRs spend performing boot-up and call ready work.

That number can then be synthesized with CCRs’ timesheets and paystubs to calculate the

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total number of minutes that went unpaid per CCR and the value of that unpaid time per

CCR.

                                   CONCLUSION

       Plaintiffs respectfully request that the Court grant their Motion for Class

Certification and Appointment of Class Representatives and Class Counsel.

Date: October 28, 2022                         Respectfully submitted,

                                               s/ Jacob R. Rusch
                                               Jacob R. Rusch (Bar No. 0391892)
                                               Timothy J. Becker (Bar No. 0256663)
                                               Zackary S. Kaylor (Bar No. 0400854)
                                               JOHNSON BECKER, PLLC
                                               444 Cedar Street, Suite 1800
                                               Saint Paul, Minnesota 55101
                                               Telephone: (612) 436-1800
                                               Fax: (612) 436-1801
                                               jrusch@johnsonbecker.com
                                               tbecker@johnsonbecker.com
                                               zkaylor@johnsonbecker.com

                                               Attorneys for Plaintiffs




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